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                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                             100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt          POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
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                                              Filed: December 10, 2021



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                  Re: Case No. 21-5915/21-5916/21-5999, G.S., et al v. Bill Lee
                      Originating Case No. : 2:21-cv-02552

Dear Sir or Madam,

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/C. Anthony Milton
                                                Case Manager
                                                Direct Dial No. 513-564-7026

cc: Mr. Thomas M. Gould
    Ms. Lynda M. Hill
    Ms. LeAnna Wilson

Enclosure

No mandate to issue
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                                 Case No. 21-5915/21-5916/21-5999

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER



G.S., by and through his parents and next friends, Brittany and Ryan Schwaigert, et al.

               Plaintiffs - Appellees

v.

GOVERNOR BILL LEE

               Defendant - Appellant



     Upon consideration of the parties’ motion to voluntarily dismiss the appeals herein

pursuant to Rule 42(b), Federal Rules of Appellate Procedure,

     It is ORDERED that the motion is GRANTED and the appeals are dismissed.

                                                  ENTERED PURSUANT TO RULE 45(a),
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


 Issued: December 10, 2021
                                                  ___________________________________
